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 5
 6                          IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                   )
 9                                               )    2:05-cr-00122-GEB
                       Plaintiff,                )
10                                               )
                v.                               )    ORDER DENYING DEFENDANT’S
11                                               )    MOTION FOR SENTENCE REDUCTION
     TALTON ROBINSON,                            )
12                                               )
                   Defendant.                    )
13   ________________________________            )
14
15              Defendant Talton Robinson, proceeding pro se, filed a motion

16   under 18 U.S.C. § 3582(c)(2) on August 30, 2010, in which he argues he

17   should receive a reduction in his federal prison sentence based on the

18   new crack sentencing guidelines.          A Minute Order established a briefing

19   schedule   on    the   motion,      following   which   the     government   filed    an

20   opposition to the motion on September 28, 2010. Defendant's reply brief

21   was   required   to    be   filed    fourteen   days    after    the   filing   of   the

22   government's opposition brief, but he failed to file a reply brief.

23              The government argues in its opposition since Defendant was

24   sentenced as a career offender “and received a guideline sentence as

25   such,” he is not entitled to any sentence reduction, citing United

26   States v. Wesson, 583 F.3d 728 (9th Cir. 2009). The government is

27   correct.   As the Ninth Circuit stated in         United States v. Wesson, since

28   Defendant was sentenced as a career offender under the sentencing


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 1   guidelines, he is not eligible for the sentence reduction he seeks. Id.
 2   at 731.      Therefore, Defendant's motion filed on August 30, 2010 is
 3   denied.
 4   Dated:    October 20, 2010
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 6                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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